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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,              )
                                       )
                  Plaintiff,           )                 4:08CR3178
                                       )
            v.                         )
                                       )
LATRAIL L. TAYLOR,                     )                   ORDER
                                       )
                  Defendant.           )
                                       )


       IT IS ORDERED that counsel will not be appointed in this case. Any previous
order appointing counsel is stricken.

      DATED this 29th day of November, 2016.

                                      BY THE COURT:

                                      s/ Richard G. Kopf
                                      Senior United States District Judge
